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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

Steven Laine,                                   Case No. 2:10-cv-14318-LPZ-MJH

        Plaintiff,

v.                                                 RESPONSE TO ORDER TO SHOW
                                                             CAUSE
Zenith Acquisition Corporation,

        Defendant.

        Pursuant to the Court’s Order to Show Cause (Doc. 4), Plaintiff states as follows:

        The parties reached a settlement of this matter on January 11, 2011. At this point the

settlement terms are fully executed and Plaintiff will file a Notice of Dismissal with prejudice

contemporaneously with this response.




                                              RESPECTFULLY SUBMITTED,

                                              Legal Helpers, P.C.
                                              Attorneys for Plaintiff

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